                                 Case 15-10189-rlj7         Doc 162     Filed 07/12/20 Entered 07/12/20 14:17:26                   Desc Main
                                                                       Document      Page 1 of 13
                                                                                    Form 1                                                                            Page: 1

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:          15-10189 RLJ                                                          Trustee: (631640)           HARVEY L. MORTON
Case Name:            TNC ENERGY, LLC                                                       Filed (f) or Converted (c): 09/22/15 (f)
                                                                                            §341(a) Meeting Date:       06/10/16
Period Ending:        07/12/20                                                              Claims Bar Date:            11/14/16

                                 1                                         2                       3                          4                  5                    6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by       Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate        Gross Value of
Ref. #                                                                                       and Other Costs)                                                 Remaining Assets

 1       Oil and Gas Revenue                                              Unknown                   122,799.48                                 122,799.48                    FA

 2       Refund (u)                                                            0.00                      593.47                                      593.47                  FA

 3       Escrow Funds                                                          0.00                    8,000.00                                  8,000.00                    FA
          SEE ASSET 130

 4       Capital Credits                                                  Unknown                          0.00                                       25.00                  FA

 5       Royalty Dividends-Taylor Electric Cooperative In                 Unknown                         25.00                                       25.00                  FA

 6       VOID                                                                  0.00                        0.00                                        0.00                  FA

 7       VOID - FIRST UNITED BANK                                              0.00                        0.00                                        0.00                  FA
          VOID ASSET - DUPLICATE ENTRY

 8       VOID - TRANSOIL SUSPENSE                                              0.00                        0.00                                        0.00                  FA
          VOID - DUPLICATE ENTRY

 9       VOID - SECURITY DEPOSITS                                              0.00                        0.00                                        0.00                  FA
          VOID ASSET - DUPLICATE ENTRY

10       VOID - ACCOUNTS RECEIVABLE                                            0.00                        0.00                                        0.00                  FA
          VOID ASSET - DUPLICATE ENTRY

11       VOID - MUTUAL FUNDS                                                   0.00                        0.00                                        0.00                  FA
          VOID ASSET - DUPLICATE ENTRY

12       VOID - INVENTORY AND EQUIPMENT                                        0.00                        0.00                                        0.00                  FA
          VOID ASSET - DUPLICATE ENTRY

13       VOID - OFFICE FURNITURE & EQUIP                                       0.00                        0.00                                        0.00                  FA
          VOID ASSET - DUPLICATE ENTRY



                                                                                                                                            Printed: 07/12/2020 02:15 PM   V.14.66
                               Case 15-10189-rlj7          Doc 162     Filed 07/12/20 Entered 07/12/20 14:17:26                   Desc Main
                                                                      Document      Page 2 of 13
                                                                                   Form 1                                                                            Page: 2

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        15-10189 RLJ                                                           Trustee: (631640)           HARVEY L. MORTON
Case Name:          TNC ENERGY, LLC                                                        Filed (f) or Converted (c): 09/22/15 (f)
                                                                                           §341(a) Meeting Date:       06/10/16
Period Ending:      07/12/20                                                               Claims Bar Date:            11/14/16

                               1                                          2                       3                          4                  5                    6

                       Asset Description                               Petition/          Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled     (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                        Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                      and Other Costs)                                                Remaining Assets

14       VOID - AUTOMOBILES/TRUCKS; MACHINERY/EQUIP                           0.00                         0.00                                     0.00                    FA
          VOID - DUPLIATE ENTRY

15       VOID 524 HWY 528 PRINCETON LA (MOBILE HOME)                          0.00                         0.00                                     0.00                    FA
          VOID - DUPLICATE ENTRY

16       VOID - CREW TRAILER                                                  0.00                         0.00                                     0.00                    FA
          VOID - DUPLICATE ENTRY

17       VOID - SHOP/OFFICE BLDG                                              0.00                         0.00                                     0.00                    FA
          VOID DUPLICATE ETNRY
18       VOID - 1179 WHY 528 PRINCETON LA (OFFICE BLDG)                       0.00                         0.00                                     0.00                    FA
          VOID DUPLICATE ENTRY

19       VOID - SANFORD OIL & GAS LEASE                                       0.00                         0.00                                     0.00                    FA
          VOID - DUPLICATE ENTRY

20       VOID - CROSS OIL & GAS LEASE                                    Unknown                           0.00                                     0.00                    FA
          VOID - DUPLICATE ENTRY

21       VOID - KNOTT OIL & GAS LEASE                                    Unknown                           0.00                                     0.00                    FA

22       VOID - WHITEAKER OIL & GAS LEASE                                     0.00                         0.00                                     0.00                    FA

23       VOID - LAND & TIMBER LLC OIL & GAS LEASE                        Unknown                           0.00                                     0.00                    FA

24       VOID - LAND & TIMBER LLC OIL & GAS LEASE                        Unknown                           0.00                                     0.00                    FA

25       VOID = LAND & TIMBER OIL & GAS LEASE                            Unknown                           0.00                                     0.00                    FA

26       524 Hwy 528, Unit C, Princeton, LA 71067 Mobile                 36,009.00                    36,009.00                                     0.00                    FA
           SEE ASSET 130



                                                                                                                                           Printed: 07/12/2020 02:15 PM   V.14.66
                                Case 15-10189-rlj7          Doc 162     Filed 07/12/20 Entered 07/12/20 14:17:26                   Desc Main
                                                                       Document      Page 3 of 13
                                                                                    Form 1                                                                            Page: 3

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:         15-10189 RLJ                                                           Trustee: (631640)           HARVEY L. MORTON
Case Name:           TNC ENERGY, LLC                                                        Filed (f) or Converted (c): 09/22/15 (f)
                                                                                            §341(a) Meeting Date:       06/10/16
Period Ending:       07/12/20                                                               Claims Bar Date:            11/14/16

                                1                                          2                       3                          4                  5                    6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                       and Other Costs)                                                Remaining Assets

27       532 Hwy 528, Princeton, LA 71067 Crew Trailer, B                 44,666.00                    44,666.00                                     0.00                    FA
           SEE ASSET 130

28       524 Hwy 528, Unit D, Princeton, LA 71067 Shop -                  77,424.00                    77,424.00                                     0.00                    FA
           SEE ASSET 130

29       1179 Hwy 528, Princeton, LA 71067 Office Bldg, B                 Unknown                           0.00                                     0.00                    FA
           SEE ASSET 130

30       Bernice Jeanne Standard 2094 FM 613, Tuscola, TX                 Unknown                           0.00                                     0.00                    FA
          SEE ASSET 130
31       Robert D. Cross 1625 Lemons Gap Road, Ovalo, TX                  Unknown                           0.00                                     0.00                    FA
          SEE ASSET 130

32       Robert D. Knott and Mickey Knott P.O. Box 369, T                 Unknown                           0.00                                     0.00                    FA
          SEE ASSET 130

33       Shirley Whiteaker 990 CR 152, Abilene, TX 79601                  Unknown                           0.00                                     0.00                    FA
          SEE ASSET 130

34       Ward Land & Timber, LLC 4808 Woodberry Lane, Ben                 Unknown                           0.00                                     0.00                    FA
          SEE ASSET 130

35       Ward Land & Timber, LLC 4808 Woodberry Lane, Ben                 Unknown                           0.00                                     0.00                    FA
          SEE ASSET 130

36       Ward Land & Timber, LLC 4808 Woodberry Lane, Ben                 Unknown                           0.00                                     0.00                    FA
          SEE ASSET 130

37       Elston Lease Bellevue Oil Field Hwy 528, Princet                 Unknown                           0.00                                     0.00                    FA
           SEE ASSET 130



                                                                                                                                            Printed: 07/12/2020 02:15 PM   V.14.66
                               Case 15-10189-rlj7           Doc 162     Filed 07/12/20 Entered 07/12/20 14:17:26                   Desc Main
                                                                       Document      Page 4 of 13
                                                                                    Form 1                                                                            Page: 4

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        15-10189 RLJ                                                            Trustee: (631640)           HARVEY L. MORTON
Case Name:          TNC ENERGY, LLC                                                         Filed (f) or Converted (c): 09/22/15 (f)
                                                                                            §341(a) Meeting Date:       06/10/16
Period Ending:      07/12/20                                                                Claims Bar Date:            11/14/16

                               1                                           2                       3                          4                  5                    6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                       and Other Costs)                                                Remaining Assets

38       Lodwick Lease Bellevue Oil Field Hwy 528, Prince                 Unknown                           0.00                                     0.00                    FA
           SEE ASSET 130

39       Anton Kubacak P.O. Box 67, Tuscola, TX 79562 Oil                 Unknown                           0.00                                     0.00                    FA
          SEE ASSET 130

40       2011 Frac Tank, VIN C9FR47151C4158266. Valuation                  8,475.00                     8,475.00                                     0.00                    FA
           Imported from original petition Doc# 110

41       1995 GMC, VIN 1GDL7H1J6J503488. Valuation Method                 29,460.00                    29,460.00                                     0.00                    FA
           Imported from original petition Doc# 110
42       1999 Vac-Tron Trailer, VIN 43ZDJ22F8X0006018. Va                  7,122.00                     7,122.00                                     0.00                    FA
           Imported from original petition Doc# 110

43       2013 Polaris, VIN 4XATH90D3D2296839. Valuation M                  7,735.00                     7,735.00                                     0.00                    FA
           Imported from original petition Doc# 110

44       2013 Toyota Tundra, VIN 5TFUW5F19DX277403. Valua                  5,297.00                     5,297.00                                     0.00                    FA
           Imported from original petition Doc# 110

45       2005 Ford F350, VIN 1FDWF37P95EC77698. Valuation                  7,140.00                     7,140.00                                     0.00                    FA
           Imported from original petition Doc# 110

46       2011 Frac Tank, VIN 4C9FR47131C158268. Valuation                 13,491.00                    13,491.00                                     0.00                    FA
           Imported from original petition Doc# 110

47       1979 Winch Truck, VIN F60CVDJ1623. Valuation Met                 Unknown                           0.00                                     0.00                    FA
           Imported from original petition Doc# 110

48       1982 GMC VAC-Truck, VIN 1GDL7D1F7BV587219.                       Unknown                           0.00                                     0.00                    FA
         Valua
           Imported from original petition Doc# 110

                                                                                                                                            Printed: 07/12/2020 02:15 PM   V.14.66
                                Case 15-10189-rlj7           Doc 162     Filed 07/12/20 Entered 07/12/20 14:17:26                   Desc Main
                                                                        Document      Page 5 of 13
                                                                                     Form 1                                                                            Page: 5

                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case Number:         15-10189 RLJ                                                            Trustee: (631640)           HARVEY L. MORTON
Case Name:           TNC ENERGY, LLC                                                         Filed (f) or Converted (c): 09/22/15 (f)
                                                                                             §341(a) Meeting Date:       06/10/16
Period Ending:       07/12/20                                                                Claims Bar Date:            11/14/16

                                1                                           2                       3                          4                  5                    6

                       Asset Description                                 Petition/          Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled     (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                          Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                        and Other Costs)                                                Remaining Assets

49       2007 Red Chevy Truck, VIN 2GCEC13ZX71148703. Val                  Unknown                           0.00                                     0.00                    FA
           Imported from original petition Doc# 110

50       2006 Beige Chevy Truck, VIN                                       Unknown                           0.00                                     0.00                    FA
         2GCEC13T461178824. V
           Imported from original petition Doc# 110

51       1983 GMC 7000, VIN 1GD57D4E6EV505743. Valuation                   Unknown                           0.00                                     0.00                    FA
           Imported from original petition Doc# 110

52       1983 Cooper 26-6 SD Pulling Unit #2461. Valuatio                  Unknown                           0.00                                     0.00                    FA
           Imported from original petition Doc# 110

53       1984 Case Backhoe, Model 580D, Serial No. 590572                  40,882.00                    40,882.00                                     0.00                    FA
           Imported from original petition Doc# 110

54       1990 Dump Truck, 5 Ton Engine #2900856. Valuatio                  11,539.00                    11,539.00                                     0.00                    FA
           Imported from original petition Doc# 110

55       Dump Truck, 5 Ton Engine #2900857. Valuation Met                  11,539.00                    11,539.00                                     0.00                    FA
          Imported from original petition Doc# 110

56       2003 Ford F150. Valuation Method: Net book less                    3,400.00                     3,400.00                                     0.00                    FA
           Imported from original petition Doc# 110

57       Checking account Account at First National Bank,                       0.00                         0.00                                     0.00                    FA
           Orig. Asset Memo: Original petition value: -3696.30;
         Imported from original petition Doc# 110

58       Checking account Account at First United Bank, x                   7,593.07                     7,593.07                                     0.00                    FA
          Imported from original petition Doc# 110

59       Trans Oil Suspense                                                38,540.45                    38,540.45                                     0.00                    FA

                                                                                                                                             Printed: 07/12/2020 02:15 PM   V.14.66
                                Case 15-10189-rlj7          Doc 162     Filed 07/12/20 Entered 07/12/20 14:17:26                     Desc Main
                                                                       Document      Page 6 of 13
                                                                                    Form 1                                                                              Page: 6

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         15-10189 RLJ                                                             Trustee: (631640)           HARVEY L. MORTON
Case Name:           TNC ENERGY, LLC                                                          Filed (f) or Converted (c): 09/22/15 (f)
                                                                                              §341(a) Meeting Date:       06/10/16
Period Ending:       07/12/20                                                                 Claims Bar Date:            11/14/16

                                1                                          2                         3                          4                  5                    6

                       Asset Description                                Petition/            Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled       (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                         Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                         and Other Costs)                                                Remaining Assets

          Imported from original petition Doc# 110

60       Treaty Energy Corporation - 8,160,026 Shares, Va                      816.00                      816.00                                       0.00                   FA
           Imported from original petition Doc# 110

61       Swepco (AEP) Electric Co.                                        27,060.95                      27,060.95                                      0.00                   FA
          Imported from original petition Doc# 110

62       Village Water                                                         107.50                      107.50                                      57.24                   FA
           Imported from original petition Doc# 110

63       Prepaid Insurance - IPFS Corporation                             12,027.47                      12,027.47                                      0.00                   FA
           Imported from original petition Doc# 110

64       Prepaid Legal - McAFEE & TAFT                                     5,000.00                       5,000.00                                      0.00                   FA
           Imported from original petition Doc# 110

65       Ward Land & Timber, LLC                                          28,000.00                      28,000.00                                      0.00                   FA
          Imported from original petition Doc# 110

66       VC Energy                                                        80,000.00                      80,000.00                                      0.00                   FA
          Imported from original petition Doc# 110

67       Shirley Whiteaker                                                11,769.00                      11,769.00                                      0.00                   FA
          Imported from original petition Doc# 110

68       A/R 90 days old or less. Face amount = $0. Doubt                        0.00                         0.00                                      0.00                   FA
           Imported from original petition Doc# 110

69       A/R Over 90 days old. Face amount = $587769.04.D                        0.00                         0.00                                      0.00                   FA
           Imported from original petition Doc# 110

70       Office Furniture. Valuation Method: Net book les                  3,072.00                       3,072.00                                      0.00                   FA


                                                                                                                                              Printed: 07/12/2020 02:15 PM   V.14.66
                                Case 15-10189-rlj7          Doc 162     Filed 07/12/20 Entered 07/12/20 14:17:26                     Desc Main
                                                                       Document      Page 7 of 13
                                                                                    Form 1                                                                              Page: 7

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         15-10189 RLJ                                                             Trustee: (631640)           HARVEY L. MORTON
Case Name:           TNC ENERGY, LLC                                                          Filed (f) or Converted (c): 09/22/15 (f)
                                                                                              §341(a) Meeting Date:       06/10/16
Period Ending:       07/12/20                                                                 Claims Bar Date:            11/14/16

                                1                                          2                         3                          4                  5                    6

                       Asset Description                                Petition/            Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled       (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                         Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                         and Other Costs)                                                Remaining Assets

          Imported from original petition Doc# 110

71       Computer Serial #JWLGKX1. Valuation Method: Net                       343.00                      343.00                                      0.00                    FA
          Imported from original petition Doc# 110

72       HP Pro Printer. Valuation Method: Net book less                       637.00                      637.00                                      0.00                    FA
          Imported from original petition Doc# 110

73       Dell Computer. Valuation Method: Net book less d                  1,562.00                       1,562.00                                     0.00                    FA
          Imported from original petition Doc# 110

74       Raw Materials: New Casing - 140 jts 51/2 (2014),                 44,678.10                      44,678.10                                     0.00                    FA
          Imported from original petition Doc# 110

75       Raw Materials: New Casing - 2 jts 10 3/4 (2013),                       48.69                       48.69                                      0.00                    FA
          Imported from original petition Doc# 110

76       Other inventory or supplies: Shop - Small equipm                        0.00                         0.00                                     0.00                    FA
          Imported from original petition Doc# 110

77       Pressure Washer. Valuation Method: Net book less                  1,560.00                       1,560.00                                     0.00                    FA
           Imported from original petition Doc# 110

78       Magnum Trsf. Pump B Mid State. Valuation Method:                  6,845.00                       6,845.00                                     0.00                    FA
          Imported from original petition Doc# 110

79       5000 Watt B&S Generator. Valuation Method: Net b                      513.00                      513.00                                      0.00                    FA
           Imported from original petition Doc# 110

80       Air Compressor 2HP. Valuation Method: Net book l                      389.00                      389.00                                      0.00                    FA
           Imported from original petition Doc# 110

81       CubCadet Cultivator. Valuation Method: Net book                       257.00                      257.00                                      0.00                    FA


                                                                                                                                              Printed: 07/12/2020 02:15 PM   V.14.66
                               Case 15-10189-rlj7           Doc 162     Filed 07/12/20 Entered 07/12/20 14:17:26                     Desc Main
                                                                       Document      Page 8 of 13
                                                                                    Form 1                                                                              Page: 8

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        15-10189 RLJ                                                              Trustee: (631640)           HARVEY L. MORTON
Case Name:          TNC ENERGY, LLC                                                           Filed (f) or Converted (c): 09/22/15 (f)
                                                                                              §341(a) Meeting Date:       06/10/16
Period Ending:      07/12/20                                                                  Claims Bar Date:            11/14/16

                               1                                           2                         3                          4                  5                    6

                       Asset Description                                Petition/            Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled       (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                         Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                         and Other Costs)                                                Remaining Assets

          Imported from original petition Doc# 110

82       Fuel Caddy. Valuation Method: Net book less depr                  1,797.00                       1,797.00                                     0.00                    FA
          Imported from original petition Doc# 110

83       Ice Machine. Valuation Method: Net book less dep                  3,063.00                       3,063.00                                     0.00                    FA
           Imported from original petition Doc# 110

84       Magnum Trsf. Pump A Mid State. Valuation Method:                  6,845.00                       6,845.00                                     0.00                    FA
          Imported from original petition Doc# 110

85       Red Lion Cast Iron Pump. Valuation Method: Net b                      504.00                      504.00                                      0.00                    FA
          Imported from original petition Doc# 110

86       Red Lion Pump. Valuation Method: Net book less d                      864.00                      864.00                                      0.00                    FA
          Imported from original petition Doc# 110

87       TP001 Transfer Pump Network Intl. Valuation Meth                  9,347.00                       9,347.00                                     0.00                    FA
          Imported from original petition Doc# 110

88       TP002 Transfer Pump Network Intl. Valuation Meth                  9,347.00                       9,347.00                                     0.00                    FA
          Imported from original petition Doc# 110

89       Trash Pump. Valuation Method: Net book less depr                      377.00                      377.00                                      0.00                    FA
           Imported from original petition Doc# 110

90       7295 Transfer Pump Mid State. Valuation Method:                   5,403.00                       5,403.00                                     0.00                    FA
           Imported from original petition Doc# 110

91       Cat IT28. Valuation Method: Net book less deprec                 31,083.00                      31,083.00                                     0.00                    FA
          Imported from original petition Doc# 110

92       Dozer. Valuation Method: Net book less depreciat                 26,145.00                      26,145.00                                     0.00                    FA


                                                                                                                                              Printed: 07/12/2020 02:15 PM   V.14.66
                                Case 15-10189-rlj7            Doc 162     Filed 07/12/20 Entered 07/12/20 14:17:26                     Desc Main
                                                                         Document      Page 9 of 13
                                                                                      Form 1                                                                              Page: 9

                                                            Individual Estate Property Record and Report
                                                                             Asset Cases
Case Number:         15-10189 RLJ                                                               Trustee: (631640)           HARVEY L. MORTON
Case Name:           TNC ENERGY, LLC                                                            Filed (f) or Converted (c): 09/22/15 (f)
                                                                                                §341(a) Meeting Date:       06/10/16
Period Ending:       07/12/20                                                                   Claims Bar Date:            11/14/16

                                1                                            2                         3                          4                  5                    6

                       Asset Description                                  Petition/            Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                    Unscheduled       (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                           Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                           and Other Costs)                                                Remaining Assets

          Imported from original petition Doc# 110

93       Brush Hog. Valuation Method: Net book less depre                    1,965.00                       1,965.00                                     0.00                    FA
           Imported from original petition Doc# 110

94       Case Wheeled Loader. Valuation Method: Net book                    18,972.00                      18,972.00                                     0.00                    FA
          Imported from original petition Doc# 110

95       John Deere Tractor. Valuation Method: Net book l                    7,862.00                       7,862.00                                     0.00                    FA
           Imported from original petition Doc# 110

96       Land Levelor. Valuation Method: Net book less de                    1,965.00                       1,965.00                                     0.00                    FA
           Imported from original petition Doc# 110

97       Echo Power Auger. Valuation Method: Net book les                        759.00                      759.00                                      0.00                    FA
          Imported from original petition Doc# 110

98       Balzer Tank. Valuation Method: Net book less dep                    3,092.00                       3,092.00                                     0.00                    FA
          Imported from original petition Doc# 110

99       John Deere 1445 Lawn Mower. Valuation Method: Ne                    8,544.00                       8,544.00                                     0.00                    FA
           Imported from original petition Doc# 110

100      Other Equipment. Valuation Method: Net book less                    9,802.00                       9,802.00                                     0.00                    FA
          Imported from original petition Doc# 110

101      Transfer Pump TDC. Valuation Method: Net book le                    2,988.00                       2,988.00                                     0.00                    FA
           Imported from original petition Doc# 110

102      Transfer Pump. Valuation Method: Net book less d                    6,437.00                       6,437.00                                     0.00                    FA
           Imported from original petition Doc# 110

103      Crew Trailer Fixtures - Furniture. Valuation Met                    6,813.00                       6,813.00                                     0.00                    FA


                                                                                                                                                Printed: 07/12/2020 02:15 PM   V.14.66
                                Case 15-10189-rlj7          Doc 162    Filed 07/12/20 Entered 07/12/20 14:17:26                    Desc Main
                                                                      Document     Page 10 of 13
                                                                                    Form 1                                                                           Page: 10

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         15-10189 RLJ                                                           Trustee: (631640)           HARVEY L. MORTON
Case Name:           TNC ENERGY, LLC                                                        Filed (f) or Converted (c): 09/22/15 (f)
                                                                                            §341(a) Meeting Date:       06/10/16
Period Ending:       07/12/20                                                               Claims Bar Date:            11/14/16

                                1                                          2                       3                          4                  5                    6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                       and Other Costs)                                                Remaining Assets

          Imported from original petition Doc# 110

104      Pumping Units. Valuation Method: Net book less d               479,039.00                  479,039.00                                       0.00                    FA
          Imported from original petition Doc# 110

105      Concrete Mixing Plant. Valuation Method: Net boo                  9,296.00                     9,296.00                                     0.00                    FA
          Imported from original petition Doc# 110

106      Casing. Valuation Method: Net book less deprecia               374,926.00                  374,926.00                                       0.00                    FA
          Imported from original petition Doc# 110

107      Electrical System. Valuation Method: Net book le               123,510.00                  123,510.00                                       0.00                    FA
           Imported from original petition Doc# 110

108      Float Shoe/Plug. Valuation Method: Net book less                  8,115.00                     8,115.00                                     0.00                    FA
           Imported from original petition Doc# 110

109      Pumps Cable. Valuation Method: Net book less dep                 62,762.00                    62,762.00                                     0.00                    FA
          Imported from original petition Doc# 110

110      Well Heads. Valuation Method: Net book less depr                 12,968.00                    12,968.00                                     0.00                    FA
          Imported from original petition Doc# 110

111      Electric Motors. Valuation Method: Net book less                 13,180.00                    13,180.00                                     0.00                    FA
           Imported from original petition Doc# 110

112      Packers. Valuation Method: Net book less depreci                  8,833.00                     8,833.00                                     0.00                    FA
          Imported from original petition Doc# 110

113      Conduction/MSC HLS. Valuation Method: Net book l                 32,575.00                    32,575.00                                     0.00                    FA
          Imported from original petition Doc# 110

114      Lark Battery. Valuation Method: Net book less de               231,436.00                  231,436.00                                       0.00                    FA


                                                                                                                                            Printed: 07/12/2020 02:15 PM   V.14.66
                               Case 15-10189-rlj7           Doc 162    Filed 07/12/20 Entered 07/12/20 14:17:26                    Desc Main
                                                                      Document     Page 11 of 13
                                                                                    Form 1                                                                           Page: 11

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        15-10189 RLJ                                                            Trustee: (631640)           HARVEY L. MORTON
Case Name:          TNC ENERGY, LLC                                                         Filed (f) or Converted (c): 09/22/15 (f)
                                                                                            §341(a) Meeting Date:       06/10/16
Period Ending:      07/12/20                                                                Claims Bar Date:            11/14/16

                               1                                           2                       3                          4                  5                    6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                       and Other Costs)                                                Remaining Assets

          Imported from original petition Doc# 110

115      100 Series Wells TDC. Valuation Method: Net book                 89,903.00                    89,903.00                                     0.00                    FA
           Imported from original petition Doc# 110

116      200 Series Wells TDC. Valuation Method: Net book               180,362.00                  180,362.00                                       0.00                    FA
           Imported from original petition Doc# 110

117      300 Series Wells TDC. Valuation Method: Net book               189,638.00                  189,638.00                                       0.00                    FA
           Imported from original petition Doc# 110

118      400 Series Wells TDC. Valuation Method: Net book               168,048.00                  168,048.00                                       0.00                    FA
           Imported from original petition Doc# 110

119      Cross #1 TDC 2014. Valuation Method: Net book le               174,243.00                  174,243.00                                       0.00                    FA
          Imported from original petition Doc# 110

120      Cross #2 TDC 2014. Valuation Method: Net book le               171,930.00                  171,930.00                                       0.00                    FA
          Imported from original petition Doc# 110

121      Knott TDC 2014. Valuation Method: Net book less                196,464.00                  196,464.00                                       0.00                    FA
          Imported from original petition Doc# 110

122      Mitchell #3 TDC 2014. Valuation Method: Net book                  4,806.00                     4,806.00                                     0.00                    FA
          Imported from original petition Doc# 110

123      Mitchell #4 TDC 2014. Valuation Method: Net book                  4,483.00                     4,483.00                                     0.00                    FA
          Imported from original petition Doc# 110

124      Jeanne #1 TDC 2014. Valuation Method: Net book l                 28,388.00                    28,388.00                                     0.00                    FA
           Imported from original petition Doc# 110

125      Jeanne #2 TDC 2014. Valuation Method: Net book l                  3,399.00                     3,399.00                                     0.00                    FA


                                                                                                                                            Printed: 07/12/2020 02:15 PM   V.14.66
                                 Case 15-10189-rlj7             Doc 162    Filed 07/12/20 Entered 07/12/20 14:17:26                     Desc Main
                                                                          Document     Page 12 of 13
                                                                                        Form 1                                                                               Page: 12

                                                           Individual Estate Property Record and Report
                                                                            Asset Cases
Case Number:         15-10189 RLJ                                                                Trustee: (631640)           HARVEY L. MORTON
Case Name:           TNC ENERGY, LLC                                                             Filed (f) or Converted (c): 09/22/15 (f)
                                                                                                 §341(a) Meeting Date:       06/10/16
Period Ending:       07/12/20                                                                    Claims Bar Date:            11/14/16

                                 1                                             2                        3                           4                    5                    6

                       Asset Description                                    Petition/          Estimated Net Value             Property             Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)                      Unscheduled     (Value Determined By Trustee,       Abandoned             Received by       Administered (FA)/
                                                                             Values          Less Liens, Exemptions,      OA=§554(a) abandon.        the Estate        Gross Value of
Ref. #                                                                                           and Other Costs)                                                     Remaining Assets

           Imported from original petition Doc# 110

126      Whiteaker #1 TDC 2014. Valuation Method: Net boo                     10,422.00                     10,422.00                                         0.00                     FA
          Imported from original petition Doc# 110

127      Whiteaker #2 TDC 2014. Valuation Method: Net boo                    170,049.00                  170,049.00                                           0.00                     FA
          Imported from original petition Doc# 110

128      Whiteaker #3 TDC 2014. Valuation Method: Net boo                      8,160.00                      8,160.00                                         0.00                     FA
          Imported from original petition Doc# 110

129      Whiteaker #4 TDC 2014. Valuation Method: Net boo                    178,539.00                  178,539.00                                           0.00                     FA
          Imported from original petition Doc# 110

130      sale proceeds - multiple assets                                           0.00                     80,000.00                                   80,000.00                      FA

130      Assets           Totals (Excluding unknown values)               $3,674,446.23               $3,885,864.18                                   $211,500.19                    $0.00


      Major Activities Affecting Case Closing:
              12/28/2016 - SALE OF ASSETS

              04/07/2017 - In line for preparation of final report

              10/16/17 - TNC tax return completed up to date of filing for bankruptcy relief (04/08/2016; and have requested update on trust return for the bankruptcy estate from
              4/8/2016 thru the end of the year from accountant . Awaiting clearance.

              05/10/2018 - Assets liquidated. Pending closing reports.

              12/10/2018 - All assets liquidated. Closing reports pending.


                                                                                                                                                    Printed: 07/12/2020 02:15 PM     V.14.66
                              Case 15-10189-rlj7           Doc 162      Filed 07/12/20 Entered 07/12/20 14:17:26                      Desc Main
                                                                       Document     Page 13 of 13
                                                                                    Form 1                                                                              Page: 13

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:       15-10189 RLJ                                                                Trustee: (631640)           HARVEY L. MORTON
Case Name:         TNC ENERGY, LLC                                                             Filed (f) or Converted (c): 09/22/15 (f)
                                                                                               §341(a) Meeting Date:       06/10/16
Period Ending:     07/12/20                                                                    Claims Bar Date:            11/14/16

                              1                                             2                          3                         4                  5                    6

                     Asset Description                                  Petition/             Estimated Net Value             Property         Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                    Unscheduled        (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                         Values             Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                          and Other Costs)                                                Remaining Assets

            07/08/19 - CASE IS IN LINE FOR PREPARATION OF TFR.

            01/15/2020 - PREPARATION OF FINAL REPORT IN PROGRESS.

            7/12/2020 - preparation of tfr in progress. reviewing and proofing entry of 160+ claims.

    Initial Projected Date Of Final Report (TFR): December 31, 2017                        Current Projected Date Of Final Report (TFR): August 15, 2020




                                                                                                                                               Printed: 07/12/2020 02:15 PM   V.14.66
